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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                      INFORMATIONrNO.
                                                           NO.
                                                                                      045
                                                                                      ^10

            V.                                 VIO: 21 U.S.C.§ 843(b)
                                               Unlawful Use of Communication
 JIMMY KYLE BAUGH                              Facility


THE UNITED STATES ATTORNEY CHARGES:
                                                                             o
                                                                                 CD
                                                                                          F-
                                    COUNT ONE                                           in
                                                                        c/>^          V)
                      Unlawful Use of Communication Facility
                                21 U.S.C. § 843(b)
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                                                                                      >om
      That on or about November 7, 2016, at approximately 9:08 a.m.,-® 1 Gly^ =c—'o
                                                                        CD
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County, within the Southern District of Georgia, and elsewhere, the deft ndanLs         33
                                                                                 o


                              JIMMY KYLE BAUGH,

knowingly and intentionally used a communication facility, to wit, a telephone,in

committing, causing, and facilitating a conspiracy to possess with intent to

distribute and distribute controlled substances, which constitutes a felony violation

of Title 21 U.S.C.§ 846, all done in violation of Title 21, United States Code, Section

843(b).

                                          BOBBY L. CHRISTINE
                                                           CS ATTORNEY



                                                 T. Rafferty
                                          AssistanJ^nited States Attorney



                                          Assistant United States Attorney
                                          *Lead Counsel
